     Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 1 of 47 PageID #: 9



 IFG PORT HOLDINGS LLC                               14th JUDICIAL DISTRICT COURT

 VERSUS NO.        /9 4675         P                 PARISH OF CALCASIEU

 NAVIGATION MARITIME BULGARE :                       STATE OF LOUISIANA
 a.k.a. NAVIBULGAR®,HOST
 AGENCY,LLC,T.PARKER HOST,
 INC.,LUZAR LLC and LUZAR
 TRADING SA                                          DEPUTY CLERK OF COURT


              4i0                            PETITION

         9W INTO COURT,through undersigned counsel, comes IFG PORT HOLDINGS LLC,

 which respectfully represents as follows:

                                         THE PARTIES

                                                1.

        Plaintiff IFG PORT HOLDINGS LLC,(hereinafter referred to as "IFG" or "Terminal"), is

 a New York Limited Liability Company with its principal place of business located New York,

 New York. Based in New York, New York, IFG operates and maintains an export grain terminal

at the Port of Lake Charles in Lake Charles, Louisiana. IFG owns the IFG Export Grain Terminal

("Facility") located at the Port of Lake Charles. The Facility is located 150 Marine Street, Lake

Charles, Louisiana.

                                                2

        The following are made Defendants herein:

        a. Navigation Maritime Bulgare, also known as NAVIBULGAR® (hereinafter

           "Navibuglar"), a foreign company from the country of Bulgaria, not registered to do

            business in the State of Louisiana, whose main office address is Navibulgar House,l,

           Primorski Boulevard, 9000 Varna, Bulgaria, who will be served under the Long-Arm

           Statute.

        b. Host Agency, LLC (hereinafter "Host Agency"), a foreign company registered to do

           business in the State of Louisiana, with a principal business office of 101 Barnard

           Street, Suite 400, Savanah, Georgia, 31401, and whose registered agent for service of

           process is CT Corporations System, 3867 Plaza Tower Drive, Baton Rouge, Louisiana

           70816.

        c. T. Parker Host, Inc., a foreign company registered to do business in the State of

           Louisiana, with principal place of business is 150 Main Street, Suite 1600, Norfolk



                                                                                  EXHIBIT 1
    Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 2 of 47 PageID #: 10



               Virginia 23510, and whose registered agent for service of process is CT Corporations

              System, 3867 Plaza Tower Drive, Baton Rouge, Louisiana 70816.

           d. Luzar LLC is a foreign company not registered to do business in the State of

              Louisiana. According to its Secretary of State filings with the State of Florida, its

              principal place of business is located at 2600 S. Douglas Rd., Suite 713, Coral Gables,

              Florida 33134, and whose registered agent for service of process in Florida is Rafael

              Sanchez, 10900 NW 21ST Street, Suite 190, Miami, Florida 33172, who will be served

              under the Long-Arm Statute.

           e. Luzar Trading SA, who, upon information and belief may be a trade name of Luzar

              LLC, is a foreign business not registered to do business in the State of Louisiana. Its

              address is located at Torre Swiss Bank, Piso 2, Calle 53 Este, Urb. Marbella, Panama

              City, Panama, who will be served under the Long-Arm Statute.

                                   JURISDICTION AND VENUE

                                                  3.

           This Court has subject matter jurisdiction over this matter based upon Defendants'

purposeful availing themselves to the jurisdiction of this forum pursuant to Louisiana's long arm

statute.

                                                  4.

           Moreover, the Terminal Tariff, the controlling contract discussed further below,

affirmatively states as follows:

       E. LAW AND JURISDICTION Any and all disputes, claims, liability (including
       absolute and strict liability), causes of action, damages (including punitive
       damages), or expenses (including legal fees, costs and expenses) directly or
       indirectly arising out of, related to, and/or resulting from the User's presence or
       operation at, or adjacent to, or use of, the elevator facility, which cannot be resolved
       amicably, shall be subject to the exclusive jurisdiction of the United States District
       Court for the Western District of Louisiana. If that court lacks subject matter
       jurisdiction, then exclusive jurisdiction shall rest with either the Fourteenth (14th)
       Judicial Court for the Parish of Calcasieu, State of Louisiana(for disputes involving
       or related to the [IFG] elevator facility). Said disputes and/or causes of action shall
       be resolved under the general maritime law of the United States, in the absence of
       which Louisiana state law shall apply. In the event that[IFG] must move to dismiss
       a lawsuit filed in violation of this provision, the reasonable attorneys'fees and costs
       incurred by [IFG] in so moving shall be paid by the plaintiff(s) to said lawsuit. In
       the event of any legal proceedings to enforce any provision of this tariff,[IFG] shall
       be entitled to recover its expenses incurred in such proceedings, including all
       reasonable attorneys' fees and costs.

A copy of the Terminal Tarrif, which went into effect March 14, 2017, is attached hereto

as Exhibit A.


                                                 -2-
    Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 3 of 47 PageID #: 11



                                                       5.

          Said Tariff is posted in a known website, (..:ILL3://v),,N.;,..v.biuewatershitoing.comluploads/

                                             VI aro.                  cif.). All parties utilizing an

export terminal, such as the Terminal herein, are bound by the applicable tariff at the utilized

export terminal by virtue using said terminal. Thus, by utilizing the Terminal, Defendants are

subject to the terms and conditions set forth in the Tariff, including those provisions related to

applicable law,jurisdiction, and venue.

                                                       6.

          Venue is proper as the judicial district in which a substantial part of the events or omissions

giving rise to the claim occurred, and where a substantial part of the property that is the subject of

the action is situated.

                                   BACKGROUND AND FACTS

                                                       7.

          Navibuglar is the registered owner of the vessel named the MV Sredna Gora. This vessel

received necessaries in the form of stevedoring services from IFG during a period of time from

approximately June 22, 2018 to August 5, 2018. The Defendants' interaction and relevance in this

case is that, upon information and belief, the Defendant entities are owners and/or agents, masters,

charterers, or were otherwise managers of the vessel at the Port of Lake Charles 11-G Grain

Terminal, who, either individually or collectively operated the vessel to receive the necessary

stevedoring services giving rise to this litigation.

                                                       8.

          Host Agency completed, executed and filed a berth application with the Port of Lake

Charles on behalf of the MV Sredna Gora on June 20, 2018 (attached hereto as Exhibit B)to load

Soybeans and Soybean Meal at the 11-G Export Grain Terminal.

                                                    9.

          Host Agency also completed, executed and filed a Terminal Use Application(TUA) with

the Terminal on behalf of the MV Sredna Gora on June 20, 2018 (attached hereto as Exhibit C)

to load Soybeans and Soybean Meal at the IPG Export Grain Terminal. The TUA specifically

states:

          "THE UNDERSIGNED COMPANY, AGENTS FOR THE ABOVE NAMED
          VESSEL OR BARGE, IN CONSIDERATION OF APPROVAL OF THE
          APPLICATION, AGREES TO BE BOUND BY ALL THE RULES,
          REGULATIONS,TERMS,CONDITIONS AND CHARGES AS PUBLISHED IN

                                                   -3-
   Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 4 of 47 PageID #: 12



       THE IFG EXPORT GRAIN TERMINAL TARIFF(S), INCLUDING
       ACCEPTANCE OF FINANCIAL RESPONSIBILITY THEREFORE."

                                                10.

       On June 20, 2018, the Terminal sent an Invoice for various vessel charges to Host Agency

in the amount of $80,580.00. Host Agency paid these charges in full by wire transfer on behalf of

the vessel on June 21, 2018.

                                                11.

       MV Sredna Gora arrived at the Port on June 24, 2018, and commenced loading operations.

                                                12.

       On June 28, 2018, a fire occurred at the Terminal ("Incident"). Terminal is fully

indemnified and held harmless for such matters as per section (I)(D) of the Terminal Tariff.

                                                13.

       Following the June 28, 2018 Incident, the Terminal was congested with vessels waiting to

load at the Terminal. It became necessary for the vessels to work overtime to address congestion.

                                                14.

       As per section (III)(L) of the Terminal Tariff, the Terminal can (and did) require vessels

to work overtime at the expense of vessel. Terminal and vessel worked considerable overtime to

complete the loading in accordance with the provisions of the Terminal Tariff.

                                                15.

       As per Terminal Tariff, on September 26, 2018, Terminal sent an invoice to Host Agency

for overtime charges incurred by the MV Sredna Gora totaling $570,500.00 (attached hereto as

Exhibit D).

                                                16.

       Although Host Agency initially rejected this invoice on behalf of the vessel on September

27, 2018, it was nevertheless acknowledged that the overtime charges had in fact been incurred.

Host Agency then incorrectly claimed that the overtime charges were supposedly the responsibility

of another party in a bad faith effort on behalf of it and/or the other named Defendants to evade

responsibility for the legitimately incurred overtime charges.

                                                17.

       On the same day of September 27, 2018, Terminal responded to Host Agency explaining

the specific provisions of the Tariff applicable to the vessel and that the vessel was fully

responsible for the overtime charges.

                                                -4-
   Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 5 of 47 PageID #: 13



                                                 18.

        On October 4, 2018, Host Agency again rejected the invoice still erroneously claiming

overtime was for the shipper's account "according to the elevator tariff." This stated position is in

direct contradiction to the plain language of the Tariff.

                                                 19.

        To date, the vessel owner, Navibuglar, and its representatives have failed to make payment,

either directly or through their agent. Navibuglar and other Defendants have had ample time to

address these issues and make timely payment to IFG/Terminal. There is no justifiable, good faith

reason to continue to withhold payment.

                                                20.

        Attached as Exhibit E is an updated invoice which reflects the amount due for overtime

plus interest which is accruing. The total amount due as of August 19, 2019 was $757,053.50,

which amount will continue to accrue interest until paid in full.

                                                21.

       Upon information and belief, Defendants may have actively engaged in a shell game and

sought to conceal the true nature of the roles of the parties involved by purposefully acting in a

substantially misleading and deceptive manner in a bad faith attempt to minimize liability.

                      COUNT 1— BREACH OF CONTRACT CLAIMS

                                                22.

       Defendants are liable to IFG for their breach of contract in failing to pay accrued charges.

                                                23.

       As outlined above, the breach of contract and refusal to pay on the part of Defendants' has

been done in bad faith, rendering them liable for all damages resulting from their breach,

foreseeable or not.

                                           DAMAGES

                                                24.

       IFG is entitled to damages of at least $757,053.50, plus accrued interest.

                                                25.

       1FG may additionally be entitled to costs, consequential damages and/or delay damages

and any other remedies available under applicable Louisiana laws.




                                                -5-
   Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 6 of 47 PageID #: 14



                                                 26.

        IFG has additionally put Defendants on notice of its intent to pursue a lien and arrest against

the vessel should Defendants continue to act in bad faith in refusing to pay the overtime charges

and other related damages. IFG is now seeking said lien given Defendants' total lack of appropriate

response to all requests for payment.

                                      RELIEF REQUESTED

        IFG is entitled to the following relief which it respectfully requests this court grant after

due proceedings:

        a. Declaratory relief finding that the claimed damages are owed pursuant to the

           agreements of the relevant parties.

       b. Money Judgment in favor of Plaintiff, IFG Port Holdings LLC,and against Defendants,

           Navigation Maritime Bulgare(NAVIBULGAR®),Host Agency, LLC,T. Parker Host,

           Inc., Luzar LLC,and Luzar Trading SA,in the full and legal sum of $757,053.50, plus

           interest from August 19, 2019, going forward until paid in full.

       c. Other damages as may be appropriate and proven at trial including, but not limited to,

           consequential damages and/or delay damages and any other remedies available under

           applicable Louisiana laws; and

       d. Costs.

       WHEREFORE,IFG PORT HOLDINGS,INC., prays that after due proceedings had, there

be judgment herein in favor of Plaintiff and against Defendants, holding them liable jointly,

severally, and in solido, for all moneys due.

       PRAYS FURTHER for all orders and decrees necessary in the premises and for full,

general and equitable relief.

                                                       Respectfully submitted,


                                                       STOCKWELL,SIEVERT, VICCELLIO,
                                                        CLEMENTS & SHADDOCK,L.L.P.


                                                       BY:         -
                                                          WILLIAM B. MONK(#09551) —
                                                          STEPHEN D.POLITO (#32638)
                                                          KATHLEEN T. DEANDA (#35746)
                                                           127 W.BROAD ST.
                                                          CHASE BANK BLDG.,4TH FL.
                                                          LAKE CHARLES,LA 70601
                                                          PHONE:(337)436-9491
                                                          FAX:(337)493-7210

                                                       Attorneysfor IFG Port Holdings. LLC
                                                                                A TRUE COPY
                                                 -6-                         Lake Charles,Loui lane
                                                                                       A-
                                                                    Deputy Clerk of Court
                                                                    Crilialt4e"P*4-Sh 1-040WIMIR     7    2019
   Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 7 of 47 PageID #: 15




Please Serve Defendants:

a. Navigation Maritime Bulgare, also known as NAVIBULGAR®
   Navibulgar House,l, Primorski Boulevard,
   9000 Varna, Bulgaria ,
   to be served under the Long-Arm Statute

b. Host Agency,LLC
   through its registered agent for service of process,
   CT Corporations System
   3867 Plaza Tower Drive
   Baton Rouge, Louisiana 70816

c. T. Parker Host, Inc.
   through its registered agent for service of process,
   CT Corporations System
   3867 Plaza Tower Drive
   Baton Rouge, Louisiana 70816

d. Luzar LLC
   2600 S. Douglas Rd., Suite 713
   Coral Gables, Florida 33134
   to be served under the Long-Arm Statute

e. Luzar Trading SA
   Torre Swiss Bank, Piso 2,
   Calle 53 Este, Urb. Marbella
   Panama City, Panama
   to be served under the Long-Arm Statute
 Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 8 of 47 PageID #: 16




                        IFG PORT HOLDINGS LLC

            EXPORT GRAIN TERMINAL TARIFF NO.2
                 (CANCELS TARIFF NO. 1)


                                  APPLICABLE AT:

                          IFG EXPORT GRAIN TERMINAL
                                       LOCATED AT

                         THE PORT OF LAKE CHARLES

                            EFFECTIVE: MARCH 1, 2017


                                MAILING ADDRESS:

                            IFG PORT HOLDINGS LLC
                                 150 Marine Street
                           Lake Charles, Louisiana 70601




PLEA ,E, NOTE THIS TAMEF MAY BE SUPPLEMENTED AND AMENDED
              FROM TIME TO TIME WITHOUT NOTICE,




                                                                EXHIBIT


IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
 Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 9 of 47 PageID #: 17




                          TABLE OF CONTENTS




                                       SECTIONS

                           I. General Rules & Regulations


                           U. Vessels and Filing


                           III. Vessel Loading


                           IV. Schedule of Charges


                           V. Additional Provisions


                           VI. Definitions




IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 10 of 47 PageID #: 18




                                                SECTION I

                              GENERAL RULES AND REGULATIONS


   A.   NOTICE TO PUBLIC


         This tariff constitutes due notice to the public, to shippers, and to all individuals,
         including vessel owners and/or operators and/or charterers and/or personnel
         and/or crewmembers and/or agents and/or managers and/or private carriers or
         business entities, including all barges, trucks, railroad cars, vessels, watercraft or
         other means of conveyance and/or equipment used by said individuals or
         business entities (hereinafter collectively "Users"), which utilize the facilities
         and/or services of any of IFG PORT HOLDINGS LLC located at the Port of Lake
         Charles (hereinafter IPH") that the rates, charges, rules and regulations apply to
         all general traffic without specific notice, quotation to or arrangement with Users
        (excepting as otherwise specified herein).


   B.    NON-LIABILITY OF IPH


        IPH shall not be liable for any loss of or damage to grain or to the barges, ships,
        vessels or other watercraft berthed or in the process of being berthed at or
        adjacent to the elevator docks/City Docks, berth #8/wharf or to any watercraft or
        transfer rig, whether caused by frost; heat; flood; rain; the elements and/or any
        other weather-related condition (including tropical storms, hurricanes and like
        occurrences); evaporation; natural shrinkage; wastage or decay; insects; birds;
        rodents and/or other animals; floats, logs and/or pilings; acts of God; strikes;
        shortage of labor; work stoppages; riots; civil commotion; insurrection; war; acts
        or failures to act of any governmental entity; acts of terrorism; any consequences
        arising therefrom; concealed damage, leakage, variation in weights or losses in
        weight whether occurring while grain is in storage or is being handled, or for
        failure to detect or remedy same; and/or any causes beyond the control of IPH;
        and said causes do not interrupt the storage charges or other charges and do not
        create any liability for failure of discharge of cars, or unloading or loading or any
        other service that the elevators has undertaken to furnish. In all other matters,
        IPH shall not be responsible for anything beyond its control, however or
        whenever arising.


   C.   DELAY DAMAGES


        IPH will use its best efforts to receive, load, unload, handle or deliver grain, but
        does not undertake to do so within any particular time period. In furnishing any



  IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 11 of 47 PageID #: 19




       services or performing any acts hereunder, IPH shall not be liable for any
       freight, dispatch, demurrage or other damages for delays to a vessel including
       standby time or loss of dispatch time or for any other delay damages incurred
       by any User, for any cause whatsoever, even if such delay is the fault of IPH or
       its management.


  D.   HOLD HARMLESS AND INDEMNIFICATION AGREEMENT


       All Users of the IPH elevator facility, specifically and without limitation, agree to
       hold harmless and indemnify IPH, its parents, subsidiaries, divisions, affiliates
       and/or joint ventures, and their respective officers, directors, agents and
       employees and all persons, firms, or other entities which may manage, own,
       control or operate the elevator facility (hereinafter "Management"), from and
       against any and all disputes, claims, liability (including but not limited to
       absolute or strict liability), causes of action, damages (including but not limited
       to punitive damages), or expense (including but not limited to court costs and
       reasonable attorneys' fees), in connection with any loss of life, bodily injury,
       i mpairment of health and/or damage to or loss of property, directly or indirectly
       arising out of, related to, and/or resulting from the User's operation at, or use of,
       the elevator facilities, even if caused by concurrent negligence of IPH, the
       unseaworthiness of any vessel, and/or because of any preexisting
       deficiency or defect, hidden or otherwise, of the elevator facilities, unless
       such loss of life, bodily injury, impairment of health and/or damage to or loss of
       property is caused by the gross negligence or willful or wanton misconduct of
       Management. All Users of the elevator facility, specifically and without
       limitation, further agree to hold harmless and indemnify IPH from and against all
       claims or damages of any nature whatsoever, including but not limited to a
       transportation security incident, terrorist act, or breach of security, whether or
       not directly or indirectly arising out of, related to, or resulting from, a
       crewmember's, stowaway's, asylum-seeker's, passenger's, vessel personnel's
       or other individual's detention onboard the vessel, escape or egress from the
       vessel, and/or negligent or intentional torts or criminal acts.


 E.     LAW AND JURISDICTION


       Any and all disputes, claims, liability (including absolute and strict liability),
       causes of action, damages (including punitive damages), or expenses (including
       legal fees, costs and expenses) directly or indirectly arising out of, related to,
       and/or resulting from the User's presence or operation at, or adjacent to, or use
       of, the elevator facility, which cannot be resolved amicably, shall be subject to
       the exclusive jurisdiction of the United States District Court for the Western
       District of Louisiana. If that court lacks subject matter jurisdiction, then exclusive
       jurisdiction shall rest with either the Fourteenth (14th)Judicial Court for the


 IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 12 of 47 PageID #: 20




        Parish of Calcasieu, State of Louisiana (for disputes involving or related to the
        IPH elevator facility). Said disputes and/or causes of action shall be resolved
        under the general maritime law of the United States, in the absence of which
        Louisiana state law shall apply. In the event that IPH must move to dismiss a
        lawsuit filed in violation of this provision, the reasonable attorneys'fees and
        costs incurred by IPH in so moving shall be paid by the plaintiff(s) to said
        lawsuit. In the event of any legal proceedings to enforce any provision of this
        tariff, IPH shall be entitled to recover its expenses incurred in such proceedings,
        including all reasonable attorneys'fees and costs.



   F.    REMEDIES FOR ENFORCEMENT OF TARIFF


        IPH shall have all remedies available to it at law, in equity and/or under
        maritime, federal or state law to enforce the rules and regulations of this tariff,
        including but not limited to canceling a vessel's filing/Application for Berth with
        the Port of Lake Charles or ordering a vessel from berth # 8 at City Docks. IPH
        shall also have all remedies available at law, in equity and/or under maritime,
        federal or state law to collect charges and liquidated damages including but not
        limited to a maritime lien against the vessel, its cargo, freight and/or sub freight
        for such charges or liquidated damages. As set forth in Section I, E, above, in
        the event of any legal proceedings to enforce any provision of this tariff, IPH
        shall be entitled to recover its expenses incurred in such proceedings, including
        all reasonable attorneys'fees and costs.


   G.    APPLICATION OF RATES


        The rates, charges, rules, and regulations set forth in this tariff and any
        additions, revisions, or supplements thereto, shall apply on grain and/or
        vessels received at IPH elevators and shall apply to grain on hand at the
        effective date of this tariff. The inclusion of rates, charges or conditions in this
        tariff is not to be interpreted as a guarantee that such services can or will be
        performed but only that such services may be performed at IPH's discretion, as
        the facilities are equipped or prepared to perform such services.

   H.    AMENDMENTS


        This Tariff may be amended from time to time without notice.


   I.    INTERPRETATION




  IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 13 of 47 PageID #: 21




        In all situations described in this tariff in which IPH is empowered to
        make a determination or act within its discretion, the sole criterion as
        to the propriety of such actions and determinations shall be whether
        IPH acted in good faith.


  J.    INSURANCE


        Insurance on grain stored in an elevator silos will be carried by IPH for the
        account of the depositor or owner of the warehouse receipt against loss or
        damage by fire, lightning, tornado, inherent explosion and windstorm for its full
        value, to the extent that such insurance is procurable and consistent with
        insurance policy provisions. The cost of this insurance is included in the
        charges for receiving and shipping grain as set forth herein.

  K.    CONTRACTOR'S INSURANCE


         Stevedores, security guards, and other contractors and/or subcontractors shall
         be required to procure and maintain during the duration of its work at IPH's
         elevator facilities; minimum insurance as set forth below:

            1. Worker's Compensation (including Longshore and Harbor
               Workers Compensation Act coverage) as required by state
               and federal laws, such policy to include voluntary
               compensation endorsement, Amended to Coverage B-
               Maritime and Employer's Liability Coverage (including crew
               coverage) with $1,000,000.00 limits;

            2. Comprehensive general liability (CGL) insurance with the
               watercraft exclusion deleted, including automobile liability
               coverage and completed operations coverage with primary
               limits of $1,000,000.00 per occurrence single limit;

            3. Excess following form CGL insurance with the watercraft
               exclusion deleted, with limits not less than $5,000,000.00 per
               occurrence in excess of number two (2), as set forth above;

            4. Where applicable, stevedore's legal liability insurance with
               $1,000,000.00 per occurrence single limit.

            5. In the event that a U.S. governmental entity mandates that
               armed security guards be assigned to a vessel prior to
               berthing or while it is berthed at the IPH elevator facility, IPH
               requires that the vessel's agent provide it, without any cost to
               IPH, with a Certificate of Insurance evidencing CGL coverage


 IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 14 of 47 PageID #: 22




                with limits of no less than one million dollars ($1,000,000.00)
                per occurrence for the security firm it has contracted with to
                provide security services onboard the vessel.

        IPH shall be named as an additional assured with a waiver of
        subrogation in each of the foregoing policies. Each of the foregoing
        policies shall contain a provision that IPH will receive thirty (30) days'
        written notice of material changes or cancellation. A current Certificate
        of Insurance evidencing the above coverage's shall be furnished to
        IPH prior to the commencement of work at IPH's elevator facilities and
        will be maintained on file at the IPH office.


        SECURITY


         In accordance with the Maritime Transportation Security Act of 2002, 46
         U.S.C. §§ 70101 et seq., and implementing regulations, 33 C.F.R. §§
         101 et seq., effective July 1, 2004, IPH has implemented certain
         restrictions, policies and procedures relative to security.


   M.    STOWAWAYS, ASYLUM SEEKERS, DETAINEES


        Prior to berthing or while at berth at IPH's facility, stowaways, asylum seekers
        and/or detainees on board the vessel must be removed from the vessel into the
        custody of U.S. immigration officials, pursuant to 8 U.S.C. §§1321, 1323. Vessels
        with stowaways on board will not be allowed to berth at any of IPH's facilities. If
        berthed, at IPH's discretion, such vessel may be ordered to vacate.


   N.   INSPECTION AND WEIGHING


        Determination and certification of the grain quantity will be performed by
        personnel of the United States Department of Agriculture at its established rates.
        The expense of such certification will be borne by the depositor of the grain or
        the owner of the warehouse receipt. Inbound grain shall be graded by elevator
        employees licensed under the United States Warehouse Act. Interested parties
        may elect to have inbound grain officially inspected and graded by Federal Grain
        Inspection Service personnel at published F.G.I.S. rates. All outbound grain
        shall be officially graded and weighed when discharged from the elevator by
        Federal Grain Inspection Service personnel at published F.G.I.S. rates.


  0.    SOUND GRAIN ONLY



  IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 15 of 47 PageID #: 23




        The SCHEDULE OF CHARGES covers sound grain only. The warehouseman
        shall not be required to receive for storage or handling grain that is out of
        condition or becoming so. The storage rate on any such grain, which the
        warehouseman may agree to receive for storage, will be higher than the rate of
        storage provided herein, and the exact rate will depend upon the condition of the
        grain. Grain, though sound when received, which is going out of condition, may
        be dealt with by IPH in accordance with the regulations issued by the Secretary
        of Agriculture under and pursuant to the United States Warehouse Act. Charges
        for services not specifically provided for in the Schedule of Charges and for
        service with respect to grain other than sound grain will be furnished upon
        application or after receipt of grain, and will be commensurate with the extent
        and nature of the work involved. All loss or shrinkage in handling will be for the
        account of the depositor or owner of the warehouse receipt.

   P.    FLAX


        Flax shall be stored hereunder only upon a gross bushel basis and IPH shall
        not be responsible for decrease in the number of net bushels and increase in
        dockage due to handling. Flax shall be stored on Identity Preserved basis
        only.

   Q.    MEAL AND PELLETS


        Meals and Pellets will ordinarily be handled only for direct transfer to vessel
        and any loss or shrinkage in handling will be for the account of the depositor
        or owner of the warehouse receipt.
   R.    PREFERENTIAL UNLOADING & LOADING


        In the event of congestion of railcars, barges or vessels, IPH reserves the right,
        without liability for loss, damage or demurrage to unload or load those railcars,
        barges or vessels for which outward shipping space has been engaged and is
        available.

   S.    RIGHT TO REFUSE GRAIN


        IPH reserves the right, without any responsibility for any loss, damage, or
        demurrage that may arise, to refuse any grain which is, in their opinion, not
        merchantable or in unfit condition for storage, transfer or handling.

   T.    OWNERSHIP & GRADE


        Grain will be stored in silos containing the same kind and grade of grain


  IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 16 of 47 PageID #: 24




       regardless of ownership. If the owner of the grain requires storage on an
       "Identity Preserved" basis, a special agreement must be requested in advance
       from IPH for storage in special silos. The rates and charges for such a special
       agreement shall be agreed between the parties.


  U.    TYPE OF RAILCARS

        Railcars (other than ordinary hopper-cars) will be loaded or unloaded by the
        IPH by special agreement made prior to receipt of the rail car.


  V.   TRANSFERS


        Grain will be transferred from bin to bin whenever, in the opinion of IPH,
        such action is necessary to obtain the benefit of full storage capacity of the
        elevator facility.


 V.     STORAGE

        Storage charges shall commence on the seventh (7) day after the date of deposit
        of the grain and shall accrue to and include the first business day upon which all
        of the following have been done:

               The warehouse receipt or receipts have been surrendered,
               properly endorsed for cancellation and accompanied by tender of
               all charges due and written instructions covering shipping and
               loading.

           2. Vessels, or barges, chartered by the owner of the warehouse receipt
               or receipts, have been spotted at City Docks, berth# 8; and

           3. The grain represented by such warehouse receipt or receipts has been
               loaded out of the elevator facility by IPH with due diligence, provided,
               however that notwithstanding performance of acts (1) and (2)
               immediately above by the owner of the warehouse receipt or receipts,
               IPH shall not be obligated to load out grain nor shall storage charges
               terminate if, despite the exercise of due diligence, IPH is prevented from
               loading grain by strikes, work stoppages, riots, civil commotion, war,
               floods, the elements and/or any weather condition (including tropical
               storms, hurricanes and like occurrences), Acts of God, acts of
               government, or causes beyond the control of the warehouseman. If IPH
               shall fail to exercise due diligence in the loading of any such grain,
               storage charges shall accrue only to and including the first business day
               upon which all above requirements have been met by owner of the
               warehouse receipt or receipts.


 IFG PORT HOLDINGS LLC — Tariff No, 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 17 of 47 PageID #: 25




   X.    GRAIN BREAKAGE


        The warehouseman will seek to minimize grain breakage as a result of
        repeated handlings but will in no way assume any liability for any breakage.


   Y.   SALVAGED GRAIN


        Unmerchantable or salvaged grain will be accepted if, in the opinion of IPH,
        such grain can be handled through the elevator facility. Actual condition of the
        grain will determine charges which will be fixed by IPH. In all instances, the
        elevation charge and actual loss in weight will be charged against the owner of
        the grain.


  Z.    SHIPPING ORDER


        Shipping order will not be consummated until surrender of warehouse
        receipts, properly endorsed, and in an amount proportionate to or in excess
        of, but not less than, the quantity, as well as the quality of each of the
        different grades of grain needed to effect such shipment. Orders for shipment
        issued to the elevator, prior to issuance of warehouse receipts, must be
        accompanied by a release signed by the transportation company which
        carried the grain to the elevator. Release must state that the original lading
        has been surrendered and all charges have been paid. Release must cover
        the total amount of each grade and identical class and color of grain ordered
        shipped out of the elevator.


 AA.    WAREHOUSE CHARGES


        Charges for storage and elevation shall become due and payable not later than
        upon surrender of the grain by the warehouseman. Charges for other services
        shall be due and payable upon performance of the service by the
        warehouseman. Warehouseman reserves the right to require prepayment of any
        charges specified in this tariff, when warehouseman's lien is or may be
        ineffective.


 BB.    BASIS OF CHARGES


        Charges on grain received or unloaded into the warehouse: the gross in


 IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 18 of 47 PageID #: 26




         weight shall be used in assessing elevation, cleaning and storage charges.
         The gross outturn weight of grain shall be the basis for the assessment of
         handling and loading out charges.


  CC.    RIGHT TO CONTRACT WITH THE GOVERNMENT


        IPH may enter into contracts in writing with the United States of America or
        any agency thereof, providing for storage and service rates other than
        storage and service rates provided herein, applicable only to grain, or a
        commodity defined in any such contract as grain, in which the United States
        of America or the agency thereof contracting with the undersigned
        warehouseman as aforesaid, has an interest.


  DD.    LICENSED UNDER U.S. WAREHOUSE ACT


        These warehouses are operated as public warehouses licensed under the
        United States Warehouse Act. This tariff is subject to the regulations of Grain
        Warehouseman promulgated by the Secretary of Agriculture under and
        pursuant to said United States Warehouse Acts. All grain received is
        considered as deposited for storage under said United States Warehouse Act
        and regulations thereunder unless the owner of the grain or his agent requests
        otherwise at or prior to the time of its receipt and subject to agreement of IPH.


  EE.    FUMIGATION OF GRAIN


        In connection with the fumigation of grain, IPH, at its option, may perform or
        contract for fumigation at the expense of the owner or consignee of the grain.
        With respect to fumigation, the owner or consignee of the grain shall ensure
        that all safety precautions have been taken to permit safe fumigation services.
        Right is reserved by elevator management to refuse to unload grain infested by
        weevils or other insects or, to refuse to unload such grain until grain has been
        fumigated to the satisfaction of elevator management and a gas free certificate
        issued. Should any owner or consignee refuse to allow fumigation to be
        conducted in accordance with procedures set forth in the U.S. Coast Guard and
        Federal Grain Inspection Service or other governmental regulations, the owner
        or consignee shall be responsible for any and all delays, resulting costs,
        damages, and expenses (including legal fees, costs, and expenses). Any crew
        member(s) or other personnel wishing to vacate the vessel or watercraft while
        fumigation takes place may do so at the expense of the owner or consignee.




  IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 19 of 47 PageID #: 27




   FF.   RIGHT TO TERMINATE STORAGE


         IPH reserves the right to terminate storage and to order the removal of any
         grain which from its inherent nature or otherwise may, in the judgment of IPH,
         cause damage to other grain or become offensive to the premises. Such grain
         not removed by owner within the time specified in the notice to remove may
         be removed by IPH at the expense of the owner or consignee.



                                         SECTION II

                                   VESSELS AND FILING

   A.    SAFE ACCESS


         All vessels are to furnish at all times while in berth, safe access onboard in
         accordance with United States Department of Labor and/or United States
         Coast Guard and/or Federal Grain Inspection Service standards ("safe
         access"). Any delay (including Federal Grain Inspection Service final
         inspection delays) resulting by failing to furnish safe access aboard, the vessel
         will be charged $5,000.00 per hour or fraction thereof until approved safe
         access is provided.


   B.    ELEVATOR OVERTIME


         All rates set forth in this tariff, for services involving labor are based upon
         payment of labor at basic straight time wages. Overtime involved in the
         loading of ocean vessels will be assessed the vessel at the rates provided
         in this tariff.


   C.    COMMON CARRIERS


         Common carriers by water (usually referred to as liners), as defined by the
         Shipping Act of 1984, as amended by the Ocean Shipping Reform Act, will not
         be accepted for loading at IPH's elevator facility. According to section 3(6) of
         the Shipping Act, a common carrier is "a person holding itself out to the general
         public to provide transportation by water of passengers or cargo between the
         United States and a foreign country     except that the term does not include a
         common carrier engaged in ocean transportation by ... ocean tramp ..."




  IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 20 of 47 PageID #: 28




  D.   FILING TERMINAL USE APPLICATION


       Users intending to load at any of the IPH elevators shall file a Terminal Use
       Application at IPH located at 150 Marine Street, Lake Charles, Louisiana 70601
       between the hours of 9:00 a.m. and 4:00 p.m. on Monday thru Friday and the
       hours of 9:00 a.m. and 12:00 noon on Saturday, all exclusive of any holiday
       defined herein.

       The signed Terminal Use Application, when received by the elevator with
       delivery of other documents set out in this paragraph II. D, and/or the use
       of the facilities and services, shall constitute a contract between IPH and
       the vessel and the User to abide by the rules and regulations of and to be
       jointly and severally liable for the charges of whatsoever kind or nature in
       this tariff and for any liabilities arising therefrom. All charges incurred by
       the vessel and Users, as set forth in this tariff, shall be the responsibility
       of and payable by the representative of the vessel and/or User that files
       the Terminal Use Application. Moreover, by signing and delivering the
       Terminal Use Application, the vessel and Users represent that: (1) they
       have appropriate insurance to cover damages associated with or resulting
       from a transportation security incident and/or terrorist act; 2)the User has
       appropriate insurance coverage to cover the full value of the grain being
       handled at the elevator and (3)the vessel is not a common carrier, as that
       term is defined by the Shipping Act of 1984, as amended by the Ocean
       Shipping Reform Act.

       By filing an Terminal Use Application, vessel owners/operators and/or
       User agree to work overtime if required by the elevator or to vacate the
       berth assigned if ordered by the elevator.

       The following certificates, documents, and deposits must be presented in person
       at the IPH elevator facility at the Lake Charles administration office at 150 Marine
       Street, Lake Charles, LA 70601. No facsimile transmissions will be accepted for
       any documents, certificates, or deposits. The filing will be acknowledged on the
       later of the expiration of buyer's written ten-day pre-advice, or the first day of
       shipment specified in the contract. The vessel must be available to berth when
       the following documents are accepted:

           1. Application for Berth filed with the Port of Lake Charles signed by
              the Master of the Vessel, sealed with the vessel's seal and also
              signed by an authorized representative of vessel owner.

          2. Copies of Stowage Examination Certificate issued by the U.S.D.A.,
             Federal Grain Inspection Service certifying that all cargo compartments
             are free of insect infestation and objectionable odor, and are clean and
             dry and fit for the cargo. The Stowage Examination Certificate must not
             be dated more than five (5) days prior to the filing and


 IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 21 of 47 PageID #: 29




               acknowledgement of the Application of Berth.

          3. Copy of Certificate of Readiness as to all compartments,
             issued by a local representative of the National Cargo
             Bureau, Inc.

          4. Copy of the Original Notice of Readiness signed by the
             Charterer or agent of the Charterers showing when vessel has
             been accepted.

          5.   Master's proposed stowage plan which includes grain cubic's of the
               vessel.

          6. All tankers and OBO class vessels must show a gas free certificate
             showing completely free of petroleum odor or any other objectionable
             odors.

          7. If any trimming other than spout trimming is required, or requested, the
               elevator management must be notified in writing and must approve in
               writing. Hand trimming is not permitted. In addition, if a vessel must trim,
               the vessel must furnish gear on board to hold the trimming machines. In
               the event the vessel is gearless, vessel must furnish a floating derrick, at
               vessel's expense, to hold the trimming machine.

               Copy of the vessel's International Tonnage Certificate or U.S.
               Customs Form 1301 showing the vessel's Gross Tonnage.

          9. Deposit of funds, suitable to IPH management, covering all estimated
               charges that are anticipated to be incurred by the User and the vessel.

       Except as otherwise provided in these regulations, vessels shall be permitted to
       berth in the order in which they file with the elevator office, a signed Terminal
       Use Application, accompanied by the documents listed above. The elevator
       management, in its sole discretion, may alter the turn of the vessels to be loaded
       when in its judgment; it would be in the best interests of elevator operations.


  E.   NO LIABILITY FOR FREIGHT


       Unless otherwise agreed in writing, filing of an Application for Berth and/or a
       Terminal Use Application shall constitute a waiver by the vessel of any and all
       claims against IPH, its parent companies and its subsidiary and affiliated
       companies for freight or other charges for cargo.


  F.   REINSPECTION REQUIREMENT


 IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 22 of 47 PageID #: 30




         If a vessel has to wait for loading berth at the elevator in excess of five (5)
         days from the time the original U.S.D.A., Federal Grain Inspection Service
         pass was issued, the vessel must re inspect and be passed entirely by the
         U.S.D.A., Federal Grain Inspection Service. At elevator management's
         discretion, the vessel will not be ordered to berth until in compliance with this
         regulation.


   G.   REFILING

        If a vessel that is filed with the elevator, is ordered to the berth but, is unable or
        refuses to accept a loading berth, due to any reason whatsoever, or otherwise
        fails to comply with this tariff, the elevator management may, at its sole
        discretion, cancel the original filing. If the filing is cancelled, the vessel must then
        re-file and will be assigned a rotation in the elevator line up based upon the new
        filing time.


   H.   CLOSEST AVAILABLE ANCHORAGE


         Vessels filing an Application for Berth with the Port of Lake Charles to load at the
         IPH elevator facility will be required to anchor at Port of Lake Charles at the
        closest available berth or anchorage to the City Docks, berth #8. In the event a
        vessel fails to comply with this requirement and another vessel or vessels,
        although filed later, are anchored at an anchorage closer to the City Docks, berth
        # 8 than the subject vessel, IPH may, at the discretion of the IPH management,
        by-pass the vessel failing to comply with this requirement, if in the IPH
         management's judgment, loss of berth time may be avoided thereby. If the vessel
        is ordered to berth and does not arrive within two (2) hours from the time of such
        order due to circumstances or conditions within the control or due to the fault of
        the vessel, its owner/s, operator/s, charterer/s, agent/s or employees, the vessel,
        its owner/s, operator/s, charterer/s, and/or agent/s shall be jointly and severally
        liable for a dead berth charge of $7,500.00 for each hour or fraction thereof until
        the vessel is berthed, regardless of intervening circumstances of any nature. Such
        charge shall be assessed as liquidated damages.


        BERTHING PRIOR TO CERTIFICATION


        At the sole discretion of the Port of Lake Charles and IPH, a vessel may be
        allowed to tie up at the berth prior to having received all the required certificates to
        file with the elevator. If a vessel fails to supply such certificates prior to loading, it
        must vacate the berth within one (1) hour of being ordered to do so by IPH.
        Should such vessel fail or decline to vacate the berth within one (1) hour after
        arrival of the tugs, linesmen and pilot and no more than four (4) hours after receipt


  IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 23 of 47 PageID #: 31




        of verbal notice to vacate by IPH management, then such vessel shall be subject
        to liquidated damages at a rate of $7,500.00 for each hour or fraction thereof
        commencing four (4) hours after receipt of the notice to vacate until vessel
        vacates berth, regardless of any intervening circumstances of any nature. Any
        vessel so ordered to vacate the berth will return to berth after the vessel loading
        immediately thereafter, if any, completes loading or vacates the berth for other
        reasons, provided that the circumstances requiring the vessel to vacate are
        rectified.


  J.    SHIPHOLD FUMIGATION


        The User and/or owners/operators of a vessel presenting an Application for Berth
        and/or a Terminal Use Application to load at the IPH elevator facility thereby
        authorize ship hold fumigation in accordance with applicable U.S. Coast Guard
        and Federal Grain Inspection Service regulations and instructions and insure that
        the vessel is fit for such fumigation. Should any vessel refuse to allow ship hold
        fumigation to be conducted in accordance with procedures set forth in the United
        States Coast Guard and Federal Grain Inspection Service regulations or
        instructions, the owners/operators of the vessel shall be responsible for any and
        all delays, resulting costs, damages, and expenses. Any crew member/s wishing
        to vacate the vessel while fumigation takes place will do so at the expense of the
        vessel's ownersloperators. All such fumigation shall be at the sole cost of User
        and/or owners/operators of vessel.



                                        SECTION III

                                    VESSEL LOADING


   A.   OFFICERS AND CREW MEMBERS REQUIRED


        Upon berthing, the vessel shall immediately and at all times, provide
        adequate lighting equipment, and appropriate officers and crew on board to
        ensure that the vessel is properly secured at all times and to permit reception
        of cargo at any time of the day or night, Including Saturdays, Sundays and
        holidays.


   B.   FINAL INSPECTIONS


        All vessels loading grain at IPH elevators are subject to U.S.D.A. regulations.



 IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 24 of 47 PageID #: 32




        The regulations require all vessels to be inspected by their inspection
        departments pursuant to the United States Grain Standards Act just prior to
        loading alongside a wharf and this inspection is considered the final inspection
        prior to the vessel receiving grain. All inspections prior to this final inspection are
        classed as preliminary inspections. If a vessel is turned down for any reason at
       the time of "final inspection" alongside the wharf, such vessel must immediately
        vacate the berth on instructions from the elevator management. If the vessel
        refuses or fails to vacate the berth within four (4) hours of receipt of the notice to
        vacate, IPH shall be entitled to charge and recover as liquidated damages the
       sum of $7,500.00 per hour for each hour or fraction thereof, commencing four
       (4) hours after receipt of the notice to vacate until vessel leaves the berth. If the
        cause for rejection is rectified and the vessel is re inspected and passed within
       twenty-four (24) hours from time of rejection, it will receive the next available
        berth. If such rectification and re inspection takes more than twenty-four (24)
        hours, the vessel must re-file with the elevator and take a position in the elevator
        line-up based upon the new filing time.


  C.   LINE HANDLING


       Arrangements for the berthing of vessels are to be completed well in advance
       of the vessel's arrival at the elevator facility for physical berthing. The vessel
       and its agent shall be fully responsible for making arrangements for line
       handling and should make direct contact with the stevedore responsible for
       loading the vessel. The vessel and its agent shall be invoiced for the
       stevedores services and each shall be jointly and severally liable for the
       charge for such services, which shall give rise to a maritime lien.
       Should the vessel and its agent wish to select another entity for line handling,
       such entity must be approved in writing by IPH management prior to the filing of
       the Application for Berth and/or the Terminal Use Application.


  D.   DROPPING ANCHOR


       The vessel must seek the consent of the pilot and/or the Port of Lake Charles
       in order to drop anchor while in berth.


  E.   CONTINUOUS READINESS AND FAILURE TO VACATE


       Assignment of berth is predicated upon vessel's continuous readiness to
       receive grain at a full normal rate throughout the entire time in berth. Should a
       vessel, while in berth, fail to maintain such readiness, the vessel shall vacate
       the berth when so ordered by elevator management. Whenever a vessel is
       unable or refuses to load, for any reason whatsoever, the elevator


 IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 25 of 47 PageID #: 33




        management may order the vessel to vacate the berth. The vessel must vacate
        the berth within four (4) hours of notice to vacate being given to the vessel and
        or agents. If the vessel fails or refuses to vacate when so ordered, IPH shall be
        entitled to charge and recover as liquidated damages the sum of $7,500.00 per
        hour for each hour or fraction thereof commencing four hours after receipt of
        the notice to vacate until vessel leaves berth regardless of intervening
        circumstances of any nature.


  F.   LOADING DELAYS


       If at any time a ship stops or delays the elevator vessel loading operations for any
       reason, whether caused by the ship or otherwise, except for cases caused by the
       elevator's inability to load, a dockage charge of $7,500.00 per hour, or fraction
       thereof, shall be assessed against the vessel, its Owner/s, Operator/s, Charterer/s,
       and/or Agent/s, as liquidated damages, in addition to any other charges within this
       tariff.


  G.   INABILITY TO RECEIVE GRAIN


       During the course of loading operations, should the loading cease or be
       interrupted due to an objectionable odor emanating from the vessel compartments
       or any other reason attributable to the condition of the vessel or its suitability to
       receive grain, the Owner/s, Operator/s, Charterer/s, Master, and/or Agent/s shall
       upon request of the elevator management immediately:

                Acknowledge receipt of the cargo received on board by signing an
                original official ship receipt.

            2. Remove the vessel from the loading berth at the owners' expense.



  H.   VACATING BERTH UPON COMPLETION OF LOADING


       Vessel shall vacate the berth within one (1) hour of completion of loading. If the
       vessel refuses or fails to vacate the berth within one (1) hour after loading is
       complete; IPH shall be entitled to charge and recover as liquidated damages, the
       sum of $7,500.00 per hour for each hour or fraction thereof, regardless of any
       intervening circumstances of any nature, until the vessel sails from berth. If the
       vessel does not timely vacate the elevator berth the vessel, its Owner/s,
       Operator/s, Charterer/s, and Agent's shall be jointly and severally liable for all costs
       and expenses (including attorneys' fees) incurred in moving the vessel, in addition



  IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 26 of 47 PageID #: 34




      to the liquidated damages described above. Any such movement of the vessel shall
      be at the risk of the vessel, its Owner/s, Operator/s, Charterer/s, and Agent/s.


 I.   SEAWORTHY TRIM


      The Users of IPH's elevator facilities must insure that a vessel accepted for berth
      must insure that the vessel will be loaded so that she remains in safe seaworthy
      trim throughout the loading operation to permit shifting out of berth, should it
      become necessary due to any reason whatsoever.


 J.   SPECIAL WEATHER CONDITIONS


      If in the opinion of the elevator management, the weather or other river conditions
      so warrant, any vessel in berth may be ordered at anytime of the day or night, to
      vacate said berth and anchor in the approved anchorage area until such time as
      weather conditions permit the vessel to return to berth. Appropriate officers and
      crew shall be maintained aboard for this purpose.


 K.   REQUESTING OVERTIME


      Requests originating from the vessel for overtime work must be made in writing
      to the elevator management prior to 1:00 p.m. of the straight time working day
      preceding the overtime period. Loading vessels on overtime will be performed
      only at the discretion of the elevator management and the charges shall be
      assessed against the party ordering the overtime work except as provided below.


 L.    OVERTIME REQUIRED


      In order to expedite the movement of vessels and to secure the fullest possible
      use of the elevator's handling facilities, whenever there are more vessels in port
      awaiting loading than can be accommodated at the elevator or whenever the
      elevators are threatened with congestion, the vessel occupying the berth shall
      within the sole judgment and discretion of the elevator management, be required
      to work overtime at the expense of vessel. By filing an Application for Berth
      and/or a Terminal Use Application, the vessel and/or owner/s and/or operator/s
      and/or agent agrees either to work overtime if required by the elevator or to
      vacate the berth assigned if ordered by the elevator. Should any vessel refuse to
      work overtime when required, it shall lose its turn and vacate the berth in favor of
      the next vessel that is willing to continuously work overtime, which vessel shall
      retain the berth so long as it is willing to work successive straight time and


 IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 27 of 47 PageID #: 35




       overtime periods until loading is completed. The vessel so losing its turn shall
       forfeit its berth assignment and shall be entitled to the berth first available
       thereafter, subject to the same overtime provisions set forth above, if the
       circumstances requiring overtime work are then found to still exist in the opinion
       of the elevator management.


  M.    ALTER TURN


       IPH, in its sole discretion, may alter the turn of vessels to be loaded when, in
       its judgment, such actions are justified to avoid overall delays or to permit the
       best possible service of all Users, or for other reasons considered sufficient in
       its judgment.


  N.    SHIFTING COSTS


       Shifting costs for coming in and out of berth or shifting while in berth,
       shall always be at the sole expense of the vessel and/or its
       owners/operators.


  0.    BAGGING, STRAPPING & BUNDLING


       When bagging, strapping, or bundling is necessary, a vessel may, at the
       discretion of the elevator management, be ordered to vacate the berth at
       the expense of the vessel and/or its owners/operator.


  P.    BLOWING TUBES


       Vessels shall not "blow out their tubes" in the vicinity of the elevator dock. A fine
       in accordance with the provisions of local ordinances shall be levied against any
       vessel and its owners/operators violating this rule. In addition to the above fine,
       the vessel and its owners/operators agree to hold harmless, indemnify, and
       reimburse IPH for and against any claim, suit, or loss IPH may suffer as the
       result of such violation.


  Q.     DISCHARGING BALLAST


       Should a vessel loading grain at any of the IPH elevators find it necessary to
       discharge ballast, such discharging MUST planned sufficiently in advance so that


 IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL—March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 28 of 47 PageID #: 36




           loading and completion will not be delayed. If any such loading delays resulting
           from discharge of ballast occur, $7,500.00 for each hour of loading delay, or
           fraction thereof, shall be assessed against the vessel and/or its owners/operators,
           as liquidated damages, in addition to any other charges within this tariff.


      R.    DRAFT CHECKS

           Each vessel loading at IPH's elevator facilities will be allowed one (1)fifteen
           minute period for the purpose of checking draft and stability calculations in order
           to determine vessel's final cargo requirements and loading sequence. Any delay
           in excess of the one (1)fifteen minute period used by the vessel will be charged
           to the vessel at the rate of $500.00 for each additional fifteen minute period or
           fraction thereof.


   S.       CONTINUOUS NATURE OF CHARGES


           At any time that a $7,500.00 per hour charge is assessed for the reasons
           mentioned in this tariff, that charge shall be assessed continuously until the
           vessel vacates the berth, regardless of intervening circumstances. Said charge
           represents liquidated damages and is a reasonable estimate of what the actual
           damages are, and is not in any way to be construed as a penalty.


  T         TUG ASSISTANCE


           All tug service to be used by vessels entering (docking), leaving (undocking),
           shifting while in berth (warping) or while lying at the berth shall be provided by
           and must be arranged through IPH's designated tug assist provider company.
           Vessel agents will be responsible for ordering tug service from the tug assist
           provider company designated by IPH.

           Every vessel upon entering the berth (docking), leaving the berth (undocking),
           shifting while in berth (warping), or lying at the berth, shall be required to make
           use of a sufficient number of tugs at the vessel's risk and expense. The number
           of tugs used shall be at the discretion of the vessel and/or pilot.

           Rates for tug service assigned by IPH shall be those listed in Section IV.N below.
           All vessels are required to deposit in advance funds with IPH to cover the use of
           tugs for entering the berth and leaving the berth as well as funds to cover any
           additional anticipated tug usage. IPH shall require a deposit of funds to cover
           additional anticipated tug usage from time to time as conditions warrant. Funds
           must be deposited upon or prior to filing of an Application for Berth and/or the
           Terminal Use Application and IPH will return any amount of the deposit in excess
           of actual usage by the vessel.


  I FG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 29 of 47 PageID #: 37




  U.    REPAIRS IN BERTH


       There shall be no work or repairs of any nature to a vessel in berth when
       such work or repair involves welding, burning, scraping, or any "hot work,"
       nor any work or repairs where there is a possibility of flame or sparks unless
       prior express written approval is obtained from the Port of Lake Charles and
       IPH.


  V.    BUNKERS


       Vessels will be allowed to take on bunkers while in berth with the consent of the
       Port of Lake Charles and IPH. IPH will charge a fee of $1,500 if a vessel takes on
       bunkers while in berth.


  W.    ABUSIVE USE OF EQUIPMENT


       Abusive use of elevator owned equipment, including but not limited to trimming
       machines, spouts, spout extensions, lines, and winches will not be tolerated. A
       fine commensurate with the extent and nature of the damage will be levied
       against the vessel and its owners/operators for such abusive use of equipment.



                                       SECTION IV

                              SCHEDULE OF CHARGES

  IPH specifically reserves the right to demand payment of charges in advance or to
  require posting of a bond to secure payment of charges. There shall be deposited
  with the IPH management, contemporaneous with the filing of a Terminal Use
  Application, a sum determined by IPH management to approximate estimated
  charges in accordance with the terms of this tariff. If such prior deposit is not made,
  IPH reserves the right to loading or continued loading of a vessel and to suspend
  running of lay time until such time as deposit is made.


  A.     RECEIVING                                                  PER BUSHEL

                1. Wheat by hopper rail car or truck                11 cents
                2. All meals and pellets and flax by rail           by arrangement only



 IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 30 of 47 PageID #: 38




                3. All other grain                                  by arrangement only

 An additional inbound weighing charge will be assessed to the shipper as follows:

 Rail Cars: Batch weighed $30.00 per car in units of four (4) or more cars
 Rail Cars: Single weights $45.00 per car on single cars and units under four (4) cars


        SHIPPING

                1. Wheat                                            11 cents
                2. All meal and pellets and flax                    by arrangement only
                3. All other grain                                  by arrangement only

        As to all grain loaded out of the warehouse into vessels, there shall be
        additional charges, payable by the vessel, for stevedoring services.


  C.    STORAGE [per day after expiration of seven (7) days free time]

        1. All wheat (on inventory as of 8:00 a.m.)                 3/10 cent per bu./per
                                                                    day
        2. All meals, pellets and flax                              by arrangement only
        3. All other grain                                          by arrangement only
        4. Preserving identity by storing in special bins           by arrangement only


  D.    SPECIAL SERVICES

        Conditioning. Cost for cleaning, fumigation, screening, cooling, running, turning,
        treating and drying will be quoted upon request. All loss or shrinkage resulting
        from any conditioning listed above will be for the account of the depositor or
        owner of the warehouse receipt.

        Combination Cargoes. Any vessel receiving multiple products of different types
        or qualities which are loaded in to separate vessel holds to preserve their identity
        will be assessed a charge of $5,500.00 per product or per quality.

  E.    POTABLE WATER

        Water will be supplied from dockside connections at master's request when
        available by arrangement only. IPH assumes no liability the supply of water or
        for the quality of the water.


   F.   ELEVATOR OVERTIME: All elevator overtime is subject to a minimum of four (4)
        hours at the following rates:


 IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 31 of 47 PageID #: 39




               Monday through Friday                               $1,500.00 per hour
               All day on Saturday                                 $1,700.00 per hour
               All day on Sunday and Holidays                      $1,800.00 per hour


   G.    DOCKAGE

        Dockage will be assessed and collected by the Lake Charles Harbor & Terminal
        District in accordance with its tariff published at www.portic.com.


   H.    FACILITY CHARGES

         Facility Charges are based on per metric ton (2,204.6):

          Vessel                                  Grain                Meal/Pellets

          1. Bulk Carrier Vessel                  65 cents                75 cents

          2. Tanker [subject to IPH approval]     65 cents                75 cents


   I.   CLEAN UP CHARGES

        Each vessel will be charged $1,000.00 for clean up on berth/dock/wharf.


   J.   DUST ARRESTING TARPAULINS

        Each vessel will be charged $1,000.00 for use of dust arresting tarpaulins, subject
        to availability of tarpaulins.


   K.   TRIMMING

         Spoon Trimming               $3,000 per vessel hold

         All other trimming           Quoted by special arraignment

        An advance payment will be charged based on the number of holds upon vessel
        nomination.


        PONTOON HATCHES

        Any vessel having pontoon hatch covers shall be assessed $2.50 per metric


  IFG PORT HOLDINGS LLC — Tariff No, 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 32 of 47 PageID #: 40




       ton of cargo loaded. This charge shall be in addition to any and all other
       charges contained in this tariff.


  L.   LINE HANDLING

       Vessels and their agents shall be charged for line handling services by the line
       handling company designated by IPH and invoiced at the rate of $1,500.00 per
       handling. If a buoy is used for a vessel, vessels and their agents shall be charged
       for line handling and invoiced at the rate of $3,000.00 per handling. Any vessel
       which line shifts from another berth to berth # 8 will only be permitted to do so
       upon approval of the Port of Lake Charles and/or the pilots. Any damage resulting
       to any property of the Port of Lake Charles or IPH as a result of such line shifting
       will be the sole responsibility of the vessel and the vessel agent. Any vessel which
       line shifts from another berth to berth # 8 will be assessed a charge of $3,500.00
       plus applicable line shifting charges, due and payable in advance.

       Standby time shall be charged and invoiced at $400.00 per hour.


  M.    RATES FOR TUG SERVICE The rates charged per tug for docking, shifting and
       undocking are available by contacting IPH. Other tug services, including without
       limitation standby, hold-in, fuel, fuel surcharges, reporting, cancellation, dead ship,
       or tug security fees shall be invoiced and collected at the current charges and rates
       set forth by IPH's designated tug assist provider company. IPH reserves the right
       to invoice and collect a fuel surcharge as established by IPH's designated tug
       assist provider company.


  N.   CARGO SECURITY, AGENCY, VESSEL INSPECTION AND
       DOCUMENTATION FEES

       Due to costs and expenses associated with the implementation of and
       compliance with the Maritime Transportation Security Act of 2002, 46 U.S.C.
       §§ 70101 et seq., and implementing regulations, 33 C.F.R. §§ 101 et seq.,
       effective July 1, 2004, each vessel calling at any of the IPH elevators shall be
       assessed a cargo security fee of $0.45 per metric ton, due and payable in
       advance.

       Vessels and their agents shall be charged an agency fee of $5,000.00 per
       vessel which will cover the first 4 days of the vessel while the vessel is in berth.
       A charge of $400.00 per day, or a fraction thereof, will be charged for each day
       commencing on the fifth day.

       All vessels will be subject to examination by the United States Department of
       Agriculture (USDA) and the National Cargo Bureau, Inc.(NCB). IPH may elect
       to schedule all such USDA and NCB examinations. To the extent IPH elects to


 IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 33 of 47 PageID #: 41




       schedule all such USDA and NCB examinations they will be scheduled during
       daylight hours only, provided that the vessel is in berth or layberth and ready in
       all respects for such examinations which will be determined at the discretion of
       IPH. To the extent IPH elects to schedule USDA and NCB inspections, IPH will
       collect from vessel and vessel agent a charge of $5,500.00 per inspection for
       scheduling services and for the cost of both USDA and NCB examinations,
       due and payable in advance. Any additional examinations due to failure of the
       vessel by the USDA and/or NCB will result in an additional charge of $5,500.00
       for scheduling services and the cost of additional examinations. Vessel
       stability, vessel cleanliness, timeliness of any inspections and final certificate of
       loading will be the sole responsibility of vessel or vessel agent. Any vessels
       which do not pass USDA or NCB examinations of ALL vessel holds will be
       subject to reexamination at the next available time and/or date provided by the
       USDA and/or NCB. Any vessel which fails a USDA and/or NCB examination
       will be subject to other terms and conditions in this tariff. A document
       facilitation fee of $500.00 payable to IPH will be assessed, in advance, for
       facilitation of U.S. Customs and Border Protection (CBP) and U.S. Coast
       Guard security documents needed by each vessel. In addition a document
       facilitation fee of $500.00 payable to IPH will be assessed, in advance, for
       facilitation of manifest documents relating to CBP.

 0.    PAYMENT OF INVOICES

       All invoices for charges are due and payable at the IPH administrative office in
       Lake Charles, Louisiana or as per the instructions indicated on the invoice, upon
       presentation. Failure to pay when presented shall cause the name of the User to
       be placed on a delinquency list. At the discretion of the IPH management, the
       User appearing on the delinquency list may be denied further use of the elevator
       facility.

       Any payment received may be applied in whole or in part against the oldest
       invoices rendered to the User. Invoices not paid within fifteen (15) days net due
       period will be assessed a 1.5 percent service charge per fifteen (15) day period or
       fraction thereof.


                                         SECTION V

                               ADDITIONAL PROVISIONS


  A.   SEVERABILITY

        If any term(s) or provision(s) contained herein shall for any reason be held
        invalid, illegal, or unenforceable in any respect, under any present or future
        law, such invalidity, illegality, or unenforceability shall not affect any other


 IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 34 of 47 PageID #: 42




         provision of this tariff, but this tariff shall be construed as if such invalid, illegal,
         or unenforceable provision had not been contained therein.


    B.   TIME OF THE ESSENCE

         Time is of the essence in the performance of each and every obligation or
         provision under this tariff.


    C.   WAIVERS

         No waiver of any breach, term, or condition of this tariff by IPH shall
         constitute a subsequent or continuing waiver of that breach, term, or
         condition. No failure or delay in exercising any right, power, or privilege in
         this tariff shall operate as a waiver. Any waiver provided is effective only as
         the specific breach, term, condition, right, power, or privilege being waived,
         and no other.


    D.   CAPTIONS

         All captions and headings in this tariff are for reference and convenience
         only and shall not modify or affect the provisions of this tariff in any
         manner.


                                        SECTION VI

                                       DEFINITIONS


  THE FOLLOWING TERMS WHEN USED IN THIS TARIFF SHALL MEAN:

  IPH: Specifically, but without limitation, the management and elevator facilities of IFG
  Port Holdings LLC located at the City Docks, Port of Lake Charles.

  BERTH: That section of the City Docks area of the Port of Lake Charles which is berth
  # 8, including all berthing facilities, used by a vessel while docking, shifting or
  undocking.

  DAY: Unless otherwise specified, a day shall be considered as a twenty four hour
  period or fraction thereof beginning at 12:00:01 a.m.

  DOCKAGE: The charge assessed against the vessel for berthing at a berth or dock by
  the Lake Charles Harbor & Terminal District in accordance with their port tariff available


  IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 35 of 47 PageID #: 43




 at www.portic.com.

 ELEVATOR(S) OR ELEVATOR FACILITIES: The physical property, i.e. shore
 side and landside grain export facilities, including but not limited to rail
 unloaders, concrete silos, conveyors, steel shipping galleries, shiploader,
 spouts, and ship docks, located at:

       IFG PORT HOLDINGS LLC
       Lake Charles Harbor and Terminal District, City Docks
       150 Marine Street, Lake Charles, Louisiana 70601


 ELEVATOR OVERTIME: Operation during overtime hours. Any vessel arriving at any
 IPH facility during what is considered overtime hours will be accessed overtime if
 applicable at first line to dock. The vessel and/or agent will be charged elevator
 overtime continuously until last line away from dock. Fractions of whole hour will be
 determined by the elevator management.

 GRAIN: The term "grain" shall include wheat, corn, rough rice, milled rice, oats, barley,
 rye, grain sorghum, soybeans, canola, rapeseed, peas, beans, lentils, flaxseed, and
 any other grain for which standards may be established under provisions of the United
 States Grain Standards Act.

 HOLIDAYS:
                New Years Day          All Saints Day

                Mardi Gras Day         Thanksgiving Day

                Good Friday            Acadian Day (Friday after Thanksgiving)

                Memorial Day           Christmas Eve Day

                J uly 4th              Christmas Day

                Labor Day               New Year's Eve Day


 And any other day that shall be ordered or proclaimed as a holiday by the
 governments of the United States or the State of Louisiana. Should any of the above
 fall on a Saturday, the previous Friday will also be observed as the holiday. For any
 holiday falling on a Sunday, the following Monday will also be observed as a holiday.
 When December 24th and December 31st, fall on Sunday, this holiday will also be
 observed on the previous Saturday.

 STRAIGHT TIME HOURS: Those hours of work when labor is paid at basic straight
 time wage rates; namely 8:00 a.m. to 4:00 p.m.; Monday through Friday, except for
 holidays.


 IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL — March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 36 of 47 PageID #: 44




 OVERTIME HOURS: Hours of work performed on Saturday, Sunday and Holidays,
 or before 8:00 a.m. and after 4:00 p.m. Monday through Friday.

 LOADING/ UNLOADING: The service of loading or unloading grain between any place
 in the terminal and railroad cars, trucks, barges or vessel or any other means of
 conveyance to or from the terminal facility.

 MANAGEMENT: IPH, its parents, subsidiaries, divisions, affiliates and/or joint
 ventures, and their respective officers, directors, agents and employees and all
 persons, firms, or other entities which may manage, own, control or operate the
 elevator facilities.

 OWNERS/OPERATORS: The owner/s, operator/s, manager/s, charterer/s and/or
 agent/s, and their employees, of a vessel.

 STORAGE: The service of providing warehouse facilities for the storing of grain.

 TRIMMING: Distributing cargo in a ship so that the load will not shift and in order that the
 weight will be properly distributed, or whenever any equipment is attached to the
 loading spout for mechanical diversion of the grain flow into the vessel holds, or any
 vessel loading that requires restrictive flow of product on any one of the ship loading
 spouts.

 USERS: The term "User" or "Users" shall include all individuals including vessel owners
 and/or operators and/or charterers and/or personnel and/or crewmembers and/or agents
 and/or managers and/or business entities, including all barges, trucks, railroad cars,
 vessels, watercraft or other means of conveyance and/or equipment used by said
 individuals or business entities, which use the services of the IPH elevator facility.

 VESSEL: Whenever the words "vessel," "vessels" or "watercraft" appear in the tariff, it
 is understood that it is in reference only to dry bulk cargo ocean vessels or ocean-
 going barges of a type customarily engaged in the carriage of grain (private carriers
 only).

 WAREHOUSEMAN: IPH, as engaged in the business of receiving and storing
 grain for others.




 IFG PORT HOLDINGS LLC — Tariff No. 2 FINAL—March 1, 2017
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 37 of 47 PageID #: 45
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 38 of 47 PageID #: 46




                                       BERTH APPLIGA I loN AND ASSIGNMENT

 10! TRAFFIC DEPARTMENT                                                     BERTH APPI.IGA1 ION NO
      LAKE CHARLES HARBOR AND TERMINAL DISTRli;'1
      P. 0. BOX 3753
     LAKE CHARLES, LA 70602


 We hereby apply for Berth:

 Vessel: Sredna         Gora                                               -type Bull< Carden-
                    Sagitta
 Charterers/Owners: ..              Marine:
                                      _._.. •                              Port of Registry. MP,,tte
                                                                                                 _ .l. ....
                Malta                                 74118•                                                ) ,
 Nationality:                                  OR'l                                         Length:    1 E.3 -
                                                                                                               ---,,
                                                                                                                 ,   09.0
                                                                                                                     ,
                                                                                                                     ,
 pm Club: West of England
                                                                                                                                     ..,,,,,<:, el
                                                                                                                                                 s
 Arrival Draft: 21ft                                                   36ff
                                                      Sailing t.X.-rti ..._- . . . .. ..                  *...           ...
                                                                                                                       ,f,-.....
 FAA: Ji.Ane
         •       22nd - 23rd                Sailing NV: 'June             2C 23h                          - fif?L,
                                                                                                          (
                                                                                            Nip In Port: 8'
                                                                                                                 ',"t/i
                                                                                                                 "...Co.,..4;.,,..
                                                                                                                            .                ''''';‘-""
                                                                                          ,,,„,,,
Agent: Host Agency                             Stevedore:   Sonice
                                       ---                                           •
calm to be Loaded:      o y  ena+     Soybean
                                        .     Mea
                                                -• l T otel (T    ./11
                                                                     . ). appiox ,10,000 IVfl
Will    Cargo for the Following Ports C
                                      Colombia TBC
Next Port of Call: TBC                           tato. 13011 of Gall: Coatzaw —  altos, MX
Cargo to be Discharged:                                                      (Tons/Lbs.)'

Point of Origin:                                                     Line I•landler         (.;ad(3
         It is understood and agreed that the Lake Charles Harbor and Ternru al District will gut be responsible for Ore
safety of any vessel nor injury or darnage thereto. nor to the employee!) of any vessel, their agents or tc.IS*118, rigs to
lire property of any vessel or the property of its eniployees, agents, or assigns, regardless of cause or source thereat,
while tied-up at the facilities. NOTICE is clrver i ti rrd weather conditions such as winds, tides, storms, or other similar
conditions may, beyond the control t a.t 1,.‘: f ;            _takes, suddenly wiry and chorine corldinOf I;t% the dock or
within the Calcasieu River Ship Clannel, The vessel, and not the Port of Loin:: Charles, solely controls(1) the amount
of cargo loaded onto a vessel; (2) the cargo loading plan utilized for loading/unloading, and (3) all other vessel
conditions affecting how the vessel utilizes the dock and the channel.

Layberths must be vacated when given fort (1) hOUIV notice. Vessels tniling to do so become liable for charges
resulting from the violation,


The applicant further agrees to abide by all rules and regulations shown in the Lake Charles Harbor and Terminal
District's Tariff No. 013 or the 'Tariff in place at the lime and date the Port of Lake Charles accepted this application
and all customs of the Port.

Further, all vessels, in addition to liabilities as provided by law, shall be responsible for the full extent of any damages
caused by it to the facilities of the Lake Charles Harbor arid Terminal District in particular, any vessel causing damage


                                                                                                                      EXHIBIT
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 39 of 47 PageID #: 47




           liü FEJ ,',i)(rir.',-..Ahle for [t ic, luit rt.lAnceineni cnsi (11( +1ft: rinpr: ft,ri                                        y.lru(:fure
                                                                             be` ny:,nut i ;ifile frd uit        r        on r nr r l, Innj-3,1 ni 'Kliïiii iir;tr;-..,tivr,
     iitctirmd by the pnit in tlie                      (4 rri teli rerniiis

Domestic, expert, Ut iinpon r*.Irrio Imoked ('Th movement over Lolie (lirut o kr her rod Tenninnl
(iJort of Loire Charles) 0 subject to Fates, ci-irrrIes, rules and regul;,:diniw in blished in the district's tariff n(:), 01:14, Or the
tariff in place at the time and dato Ure Port of Lake Pharier>. riccepiod        ,. T,,ppliciAinu, or file witl i tho feden al roritime,
coinnik;sion.         (4 current tariff ear ). he found al

    \/(.,-,r                          Docks, in p!rttittli ttrfron for or doritig loaklint.j1Tori. the It r, intO inrorinel, re F;r ibjuou 1 )1 (n
               01,t; 1)01411'11 1g r ut (tity
    or'            ( bairns etc 1011i tariff                  )10i ihttij.ed            ne', ion ilockarre, m u m my, \vdriei


    All              requirod to lilt:,
    l'equjred try aiiff itein Atir3


                                     I nstruGrkilw:




                 r mi n                               qity           (0 (•,,,) • 11 14(-;1,1, ,i


I                            11'1'                                                     rel -lAr1 ti   11\1 :1-tr )r                 -'1 :1+/(11,lA,1
                                                                         [3(                                    12; •„,




r,/:),()/                                                                                                                                              Tr   •
                                tA I
               Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 40 of 47 PageID #: 48




  1 1 1 1', 1 1 kr,./11INI1V1 I HI 1\1'1'1                                       ft()                      I\ 1 1(/1,111‘,111 1', 1 r(1                                               I) 111' /I, 1 )1 NO',l                                   `,',I 1 ,                         1 (.1 1/,,1. 1 1 1(1
                                          d 1,d I HO )1'(' )I,11 1( i 1 1, 1                           I                                , • ;(( I 1\/1 ;\( 11,
                                                                                                                                                             ,1( 1 11 1 i                                      )1 11 1(,                          1 1 11         I I(         1 ;(1'01 I 1
 1 1 10./IINP.1             kl\/111\(111 -) /1', 111H IN .1'        P,1\1( I ( 11 1 1 )1 IT( )1(t I'd 1 1 1 11\ H I N 1 )1 1 1\/1 NY (            /\I'dY ;\( (NI    1 1 11H 1Th II I( 1
 1(1 j 1 1 )        Idviii\j/\1 /\!, )',I,11 (, i I l',1 1A/11 1                        )( 1\11 1 1 1 1 'r 1 1 (, 1 1\J \A/LI:1 1 11'V, ()I (\1\1
                                                                                                                                            , (/ 11\1,1I•il'n 11\1 WI 11\11 HI(II\111,, 1 H\I
',WINN 1 ) I I1 . 1 ( 1\i‘i, I HIT                 A1 1\/1`,1 1 ) i i 11\ 1 1i1P,IW(( 1 1,1 1 1,11          1 1N I 1 1'( 1 ( Ild's(1 1111/1)' H " (I II 1 IN iti1 IFS` 1 101,1 OI [HI',
             ,0, 1 1( 11(1.    II !, !I (        1  1\1( 1 1 11 'I          ,1
                                                                        1 1' is 1)1  1         (     (c  ihrd        R i(H i\ 1 1/

                                                                                                                                           il(11; 1"'hiI t i( 1 11A1(I,

                                           1\1111,Ii\I                                                                                          I T; )f 11 14 ;                             ( 1 I7191 1 11I                              OI            1 1 ','                 1 r1 1 1\11 I13(1 , 1 ;1(

                                                                                                                                                                                                                                                                                            1 1;1 1 , 1 ,


                                           (r,      1    I     I'd                                                                                             ,1 1(1 1 1( I 1(1                 'I l 1 1      "(I I I              (1   1 ; Itor;(;,

                                                                                                                                                                                                   ,;(1 (11(1(
                                                                                                                                                                                                                                                       ( ;ti , I ((

                                                                                                                                                                1; ( II   II"
                                                                                                                                                                                                            (Hh                               1;1 AI'',

        (VI V                             (                                                                                                                                                              (11)                                                                                                  I
                                                                                                                                                                            I
                                                                                                                                                                                                                                                                                                             1 1,1
                                                                                               Fi /I 11`1 1                                                                       II(       ((                )10                                                                                   1

                           MINI ) U'

                                                                                                                                                               (          I I;(I I                                                                         :I f( 1             1 )1,11 I (



   1‘1‘) 1 1                ,; (1         ;1 1 ;                       ,,                                                  11((:                                          (h, 1 ,11((             11:,7- 1(                              I,„                         '((( •          1,
                                               (, I t, ' ( , )(( (1 1,1 ,                                                                              1                                     ;                      `,1 711 ,                         I I 1,
               1 1 , 11                                           ,11 11I 1( ,1 1 1( 1 1; ;t 1

                                                             ; i ( II                                ( 1 1 1 ,;; ; ;I I1                                                                1 ; ;;;1; ;         ;,I(,( 11 (,; ;,                   Hp( i i ii; 1;;                                          I;

                                              ;                         ( 1 1.1( 1;                                         ; 1(11 111;   ,(1   1,;                               I      "I 1                   JO,                                   I e1i ',1 11            I 11        111$ 'j




  W I 1 I 1‘,1 1          1 I)1( (r(II I                                    ,(\( (1• 1(1 ', I ( )1 ; ( I 1 1 (,,I (. )1(1 1(1 .1(,;.,,
                                                                                                                                     , i1 1 ( ',/1                                                     1 1‘ (                                                                                                  1 11

(\.1(1(1 11 ( 1 1(11,1, is,( (1(1 1               1( 1          Ik1 !l 1(.-.I1 )             %,,) I 11111 1                        ;HI I I /;, t                                                                                I                                                                   I I I! II ;

   I„I ';       ; ;I                I I                                 I                   I ; II                         i I(11;I; I
                                                                                                                       ; I '                          I II I II:-̀ 'H( 1 ., ,1                                IC(          II;I;;I ; I -i'H I!


               A1 )1 ;11;.,, I i i                                                                     I I ;i      I         II I /1                                        .;;                       (i
                                                                                                                                                                                                                                         l',1',;;;;
                                                                              1- 1( !;;II
(,!'H%1 1;
                                                                                                                           /

                                                                                                                       /- 1) 1
                                                                                                                                                                                                                                                       I- (; ;,;;;
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 41 of 47 PageID #: 49
      Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 42 of 47 PageID #: 50



 IFG PORT HOLDINGS LLC
 150 East 58th Streui
29th Floor
 New York, NY 101 •
(212)302-9000
                                                                                                                                              invoice
BM To:
Host Agency                                                                                                                                 Ref A!: MV Sredna Gera
Edison Plaza                                                                                                                            Invoice t/: 2018-09-009
350 Pine St Suite 770                                                                                                                Invoice Date: 9/24/2018
Beaumont, TX 77701

Luzar Trading S.A
                                                                                                                              O_CT 0 209
Torre Swiss Bank, Pisa 2
                                                                                                                                2
Calk. 53 Este                                                                                                                                                •
Urb. Marcella
Panama City Panama.                                                                                                                     D uo Date: Upon          tpt



                                                           Regular
                                              Total                                                                                   Elevator
                                                          Operation  Elevator
Day         Date        From                 Elevator                                                Description                      Overtime            Total $
                                                         Hours(8:00 Overtime
                                              Hours                                                                                  Per Hours $
                                                         AM-4:00 PM)

  FR1   6/22/2018          7:30     16:30        9            8.00           1.00       Elevator Overtime-MV Sredna Gore               1.500.00              1,500.00
 SAT    6/73/2038          7:30     12:30        5            0.00           5.00       Elevator Overtiine•MV Sredna Gora              1.700.00             8,500.00

 SUN 6/24/2018          10:00       1 2:00       2            0.00           2 00       Elevator Overtime-MV Sredna Gora               1.800.00              3,600.00
 MON 6/25/2018          10:00        0:00       14            8.00           6.00       Elevator Overtime-MV Sredna Gore               1,600.00             9,000.00
  TUE 6/26/2018            7:00      0:00       17           8.00            9.00       Elevator Overtime-MV Sredna Gore               1,500.00             1 3,500.00
 WED 6/27/2018             7:00     21:00       14           9.00            5.00       Elevator Overtime-MV Sredna Gore               1,500 00             7.500.00
 I UE    07124/18          6:30      0:00       17           8 00            9 00       Elevator Overtime-MV Sredna Gore               1,500.00             13,500.00
 WED     07/25118          7:00      0:00       17           8.00            9 00       Elevator Overtime-MV Sredna Gora               1.500 00            13,500.00
 THU     07/26/18          6:30      0:00       17           8.00            900        Elevator Overtime-MV Sredna Gore               1,500 00            13.500.00
 FRI     07/27/18          7:00      0:00       17           8 00            9 00       Elevate; Overtime-MV Sredni,i Grua             1.500 00            13,500.00
 sAT     07/28/18          7:00     21.00       14           0.00           14 00       Elevator Overtime-MV Sredna Gore               1.700.00            23,800.00

 SUN     07/2918           7:00      0:00       17           0 00           17 00       Elevator Oveltime•IAV Sredna Goi a             1.800 00            30.600.00
 MON     07/30/18          7:00      0:00       17           8.00            9.00       Elevator Overtime-MV Sredna Gera               1,500.00            13,500.00
 TUE     07:31/18          7:00      0:00       17           8 00            9.09       Elevator Overtime-MV Sredna Gore                1.500.00            1 3.500.00

 WED     08/01/18          7:00      0:00       17           8.0()           0.00       Elevator Overtime-MV Sredna Gera                1.500.00           13,500 00
 THU     08/02/18          7:00      0:00       17           8.00            9 00       Elevalor Overtime-MV Sredna Gore               1,500.00             13,500.00
 FRI     08/03/18          7:00      0:00       17           8.00            9.00       Elevator Overtime-MV Sredna Gera                1 500 00            13,500.00

 SAT     08/04/18          7:00      0:00       17           0.00           17 00       Elevator Overtime-MV Sredna Gore                1.700.00           28,900.00

 SUN     08/05/18          7:00      0.00       17           0.00           17 00       Elevator Overtime-MV Sredna Gore                1,800 00           30 000 00


                                                                                                                                     Tot al        Continued

For payment via wire transfer, please remit funds to:                                                                                              $                   -
Bank Name JPMergan Chase                                                                                                             Total:        Continued
RoutingsSorting Cede: 021000021
Swift/BIC Code: CHASUS33
Account Number 950178959

                                  Balances not paid within 15 days wilt be considered delinquent and subject to additional charges
                                                                                                                                                   EXHIBIT
      Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 43 of 47 PageID #: 51


IPG PORT HOLDINGS LL(
1 50 East 5810 ST-eel
21,1th Ficici-
 NevJ Yen:, NY 10155
(212) 3025000
                                                                                                                                                   V lee

Bill To:
Host Agency                                                                                                                             Ref     MV Swoon (loin
Eciluou                                                                                                                            I nvoice If: 2018-09-000
300 Pinu St, Sule 17o                                                                                                           I nvoice Date: 9/241201
Iltmurno0t, TX 77701


Luzm lry,,lin/
                         2
C0i10!..,3
(Jill Ma Lithe

P(Inari) City, Panama                                                                                                              D ue Date: Upon Rucorpi




                                                         Regular
                                              Total                                                                               Elevator
                                                        O peration Elevator
  Day            Date    rom      To        Elevator                                            Description                       Overtime             Total $
                                                       Hours (8:00 Overtime
                                             Hours                                                                               Per Hours $
                                                       AM-4:00 PM)

MC«          08/08/113   :000      0:00 i                 b 00       1) 011     Elevalor Over',ime•M‘,./ GrednF', Corn             1.500.00               3,000.00

  TUE                             70:-         13         8 00          0/0     Elcrwator Overtime-MV Sruelmi Got ti               1,500,00                   1,500.00
             08/0711     7:00
 WED 08/08h 8                                             8.00       e 00       Elevator overfinle-My ,„.;ædw., Core               .1,500.00             1 ,3,500.00
                         7:00
  THU        08/09/18    7:00      000i                   8 00          00      Elevalol Overtime-MV Sinn on Cow                   1.500.00                   3,500 00

             08/10118    7.00      0:00                   3.00                  Lic/valor Ovorumo-M\i                   Gore       1,500.00                   3,500 00

  SAT        08/11/1E    -»00      0:00                             17 00        Ele.icl:or °verb:me-W./ Swoon (low                1.700 QC              =15110000

  SUN        03/12;18    700       0.0/                                           l.:•:wlor                             /;ow       1 6.00               80. 00 00

(13(43       03:'13/1              0:00                   0 00       13 130      Liov.0'ior CumMmo..Mll                            1 800.00              1 0 500 00
                         7:00
    BE                                                      in       'll•0(01                                 Greene C,;.,ora      .1,500.00              ,    00)1 11)1
             08114/13    7:00      0:00
 \NED Ob!lbll                                             5.0(1      13 130      E Li/CIO) Overiline-Tee! Srutim3 Gor,-.           1,500.00              10.'000.00
                         7.00      1.000

             08116/18    3:00      00(1'                    OU       000         EtevElor °vet-lime-MY 0ru.000. Cow                1,500 00               : 00.((0

                                   0:00                   5.00       0 OP        Einve,bo,                                         1.500.00                   3.500.00
             08/17/l8        00

                                   0:00                   0 00                                                Sft.,Ona Cow         1 ,700.013.           '28 000.00
             08/1Ull     7:00
                                                                                 EfeyM(It                     SR:Gina Cow           .300 00              ,00,0,00
             08/lBilb    7:0(1       00
M ON                               0:00                   3 00                  • Eie,,,,r.-A0r •0ver8;Y:e-V1." Srecloa 0-n,       1 800.00               1 3,000 00
             08/20113    7:00
  TUE                    7;00      0:00        .,         3 CO       0 00                     Overumc0-Ml/ SteMu.:; G0w            1,500.00                   8.500 00
             0621/18
 WED 08/22/18                                             8 Oil                  Sievetot OlfertilTIE:-MV Sredrul Cora                  . 500.00          1:3500 00
                         7 00      0100
  THU                                                     3,0/J      700         Elluva,,cm                   Sf(,One                   500.00                3,000.00
             03!23/1     7:00     17:00




                                                                                                                                 '1of               5 57.0,500.00

 For_payinent via w i re transfer, please remit turicis: to:
                                                                                                                                 TOW:               5 57(1,000.00
Bank Hame: JPMergan Chase
RoulingiSoding Code' D2100002:1
Swift/BIC Code: CHASUS33
Account Number, 950170950

                                              rymd                                            E nd suL;ec:.
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 44 of 47 PageID #: 52
    Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 45 of 47 PageID #: 53


IFG PORT HOLDINGS LLC
 150 East 58th Street
 29th Floor
 New York, NY 10155
(212) 302-9000
                                                                                                                                      Invoice
Bill To:
Host Agency                                                                                                        Ref //: MV Sredna Gore - REV •
Edison Plaza                                                                                                   Invoice t1: 2018-09-009 - REV
350 Pine St. Suite 770                                                                                     Invoice Date: 8/19/2019
Beaumont, TX 77701
                                                                                 FILED-___PCT                  0 2 209
I tzar Trading S.A
                                                                                                                                    •
Torre Swiss Baril;. Pisa 2
Calls 5:,;
         - Este
Urb Marbella
Panama City, Panama                                                                                                              Due Date: Upon Receipt



                                                       Regular
                                         Total                                                                              Elevator
                                                      Operation  Elevator
  Day      Date      From               Elevator                                               Description                  Overtime            Total $
                                                     Hours(8:00 Overtime
                                         Hours                                                                             Per Hours $
                                                     AM-4:00 PM)
MON      08/06/18      7:00      0:00       17           8.00           9.00      Elevator Overtime-MV Sredna Gora               1,500.00        13,500 00
  TUE 08/07/18         7:00     20:00       13           8.00           5.00      Elevator Overtime-MV Sredna GOra               1.500.00          7,500.00
 WED 08/08/18          7:00      0:00       17           8 00           9.00      Elevator Overtime-MV Sredna Gora               1.500.00        13.500 00
 THU 08/09/18          7:00      0:00       17           8.00           9.00      Elevator Overtime-MV Sredna Gore               1,500.00        13,500.00
  FRI   08/10/18       7:00      0:00       17           8.00           9.00      Elevator Overtime-MV Sredna Gore               1.500.00        13,500 00

 SAT 08/11/18          7:00      0:00       17           0.00           17.00     Elevator Overtime-MV Sredna Gore               1,700.00        28,900.00
 SUN 08/12,118         7:00      0:00       17           0.00           17.00     Elevator Overtime-MV Sredna Gore               1 800.00        30,600.00
MON     08/13/18       7:00      0:00       17           8.00           9.00      Elevator Overtime-MV Sredna Gore               1,500.00        13.500 00
 TUE 08"14/18          7:00      0:00       17           8 00           9 00      Elevator Overtime-MV Sredna Gore               1.500.00        13.500.00

 WED 08/15/18          7:00      0:00       17           8.00           9.00      Elevator Overtime-MV Sredna Gore               1.500.00        13.500 00
 THU 08116/18          7:00      0:00       17           8.00           9 00       Elevator Overtime-MV Sredna Gore              1,500.00         1 5,(100.00

  FRI   08/17/18       7:00      0:00       17           8.00           9.00      Elevator Overtime-MV Sredna Gora               1,500.00         1 3.500.00

 SAT 08/18/18          7:00      0:00       17           0.00           17.00     Elevator Overtime-MV Sredna Gora               1.700.00        28.900.00

 SUN 08/19/18          7:00      0:00       17           0.00           17.00     Elevator Overtime-MV Sredna Gore               1,800.00        30,600.00

MON     08/20/18       7:00      0:00       17           8.00           9.00      Elevator Overtime-MV Sredna Gore               1.500.00         13,500.00
 TUE 08/21/18          7:00      0:00       17           8.00           9.00       Elevator Ovenime-MV Sredna Gora               1,500.00         13,500.00

 WED 08/22/18          7:00      0:00      '17           8.00           9.00       Elevator Ovenime-MV Sredna Gore               1,500.00         13,500.00
 THU 08/23/18          7:00    17:00        10           8.00           2.00       Elevator Overtime-MV Sredna Gora              1,500 00          3,000.00

        08/19/19                                                       327 00     Service Charge as per Tariff No. 2                            186,553 50




                                                                                                                           Total            $ 757,053.50

For payment via wire transfer, please remit funds to:                                                                                       $             -
Bank Name: JPMorgan Chase                                                                                                  Total:           $ 757,053.50
Routing/Sorting Code: 021000021
Swift/BIC Code: CHASUS33
Account Number: 950178959

                              Balances not paid within 15 days will be considered delinquent and subject to additional charges
Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 46 of 47 PageID #: 54
              Case 2:19-cv-01454 Document 1-1 Filed 11/07/19 Page 47 of 47 PageID #: 55




                                                                                     II                          111   air »       it if 1,1 If III      11 ,11. .11

                                                                                                                    11 1:1 :1.r: 11               :1'it 001;;1'



                                          ;itlit);.4                  adolplf(2: 1:(iotk :40f1                                                              I
                                                                                                                       CA                                                                                                                                   0   20/9
             1 1.10/11N/‘,1 (1(,1 1\1)14 I( I\ 1 1(M ("/\1)1 11 1( /11 101\1')1\411(.1 lit 1,t 1111V11 1 II 11 HY i\ 1)1                                                                   O11, V1-`,(.11,                                   I
          \/1 yd.' Iv       vRovomN(.. 1() ivt R ()H                                              1.1101)111.
  1 1.10/111\1A1 ("11.Hivinwq”) /\14 11\1 /\o\//\,‘1( 01 1 1 11 1,1;01)( ),,1 1) 1)A I I HI 1 )1.1 1\nio,                                                               /),I\IY A(,k11111 I I
I n I I II I I 10‘/111\1/\1 /V) I'( 113`)Ihl I I 1`,1 It V1/11 1 1'1(01\41'1 1Y 100111                                               II        11\1 \AIM 'Mt.(11 Ate t I 1/\14(.,r, IA! I 1 II 11\11 HIB\41-‘, 1 1(11 1
',111 11)1 11.1) 1111(nAl. 11,,1.11 I), i\I)\/1),1:1) MAI III Ame,                1 1111                                                  mi mr; t uhi\,1                        k/oy won l ti\I III 111.                                        I l i!',
               /\ I k ttq BY 11 1. II (./ !trill 1 1\1' 11 11Y 1111 I                           ()1 1)1\1/\' t 1 1) 1 ABI 1 A1t1.1 1(./\ I I( IN',

                                                                                                I )11,(!il t r llt l'/W 11)111 A16
                               1.1`k,K411ktiV      111•14)•11II)I:                                          1 11;0111 11 I                                      111A1\141 I V                   (111/11'1V

                                                                                                                                                                                                                                 I 1 110 It tc
                                                                                                                                                                                                                                   I 1 1;/),11
            I !, I                  S lAil             NISI 1111.0)              )
                                                                                                                             .1 1 1\ilt               f)1•1 11 IVIII-1 1 11viditligtol                              ik1 101
                                                                                                    •          oi       ,)                                                                           I        tIt   11.

                                                                                                                                                                                                     I     iaLt I


                                                                                                                 1)/t1).11(:111.P.1r.
        \II • 0,1.1 i )1; I...1\10-d                    I\II 1, V1‘0,1- I\II NMI!                       I AN.;                 1             1.;u1                                                                          1V110( I )1t/1,1
             \'      IVt I rhi       in'a
                                                                                                    M alta                            211 18                      189.09                                                   .15
                                                                                                                                                                                                                                                  IN
        /1:,;1111       Bfill‘13,1{1411,114/IX(11{/(3 111110(1111/1.11\11                                                           1 1:41 to tip, 1.(            ./t,)          11'41A(                                    Lt I IN/1/!,
                                                                                                        \,\I csi ()I
                                                                                                                     kilgialld                                                                                            9/180570
                               I,     1,'‘,I0 41\1(1 I             I (IVO                                               111 17kk 11110, I I It I                       I IIVIt                      1:. ;).                II1J)

    (-1/             Cif                                                                           (,/./ii (\/ in
                                                                                                                                                                                            ,s,1),1)()() 1 11k1 i         1,800 !it ))
                                                                                                                                                                                                                                     ,Itt'ill

  )4( I I •     \/1 .'•'•i'l                       c1(11)1',1.1 1 Ohl) : .1/Chi IJIll1011                      lt,iiiiIlt d II)) ilir I oI(..                                                                                              /11,11i,
                                                                                          I III(' 11 .11 1.,Ii Ili                 1/t•'•'.01                      .1)       I    I.          11,11113,
                                                                                                                                                                                                      "1

    i llf.: ` I .11,11 1fr,               (10101'11'11v if ,11 1v             if offnt- apply

     l/1", ,14.. 1111.11                     .       r,{01 . ,{1111 ,11;r1II'. II III.1111111i• It ,                                                    1,t 1,1111.11                               ht ,tilit11.            ,I       VI'. :I i l••l ill
‘,1 10 i „1,1111                                 4.4 1,11,, I                                                           , 1 1/ . ,„, olujoll hot Hi ,11,1)11(,1)1/10 II) 1 .4111I1,11 '.1111,,01111.11(1
      11                              I'(II                                                               tl r                                                                                         , 1Ii



  1 1 11 lAit)1 11‘,i(d\11 1) « tiyININty, iv tl                 IOU !I II i\11(1\/1 AlAlvil I) VI ),',1 I (III Iti\lf(11 ,         I II').11)1 eIli II,I 1( /\111T(1\if\I III 11 11
,\11.1              )1\i, /\/ ,10     141 111 Br a 11\11) By ;\1 1 km              1;1(it JI       ti‘it,, kivr), f owl-4111)1,A, /,,AM t 11/\11.(.1 t, At, HM1 1(.1 11 1) 111 1 111 11 (,
I ;.:14. )1/ I ,,11,,t110 If A/11111,1AI         I (t,), 11.4t 1 intitsIt , 111 t 1 1 1 1/si\li I I t 1A11).14) 1/),I         qui s, l I Ii pi I (.1,.

1 1:11 <Ii Applit                                               A1 plit.an1 t onft)onv                    n-                                                     Non F•
                                                                                                                                                                                   himt I lass
6/20/1A                                                         Host Ageuy
                                                                                                                                                                                       ,
                                                                350 Pin: St, Ste '1-10
                                                                                    .                                                                                             (._)ilet-F111()11f.-;
                                                                Beaumont, Ix 77701
                                                                                                                                                                                           13tion




                                                                                                                                                                                 EXHIBIT
                                                                                                                                                                                                                                   1 1,1141: f ni I
